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                        EXHIBIT C
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12
                                   UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                            SAN FRANCISCO
15

16   PANGEA LEGAL SERVICES; DOLORES                      Case No. _______________
                                                                   3:20-cv-07721
     STREET COMMUNITY SERVICES, INC.;
17   CATHOLIC LEGAL IMMIGRATION NET-
     WORK, INC.; and CAPITAL AREA IMMI-
18   GRANTS’ RIGHTS COALITION,

19                  Plaintiffs,                          DECLARATION OF MICHELLE N.
            v.                                           MENDEZ
20

21   U.S. DEPARTMENT OF HOMELAND
     SECURITY; CHAD F. WOLF, under the title of
22   Acting Secretary of the Department of
     Homeland Security;
23   KENNETH T. CUCCINELLI, under the title of
24   Senior Official Performing the Duties of the
     Deputy Secretary for the Department of
25   Homeland Security;
     U.S. CITIZENSHIP AND IMMIGRATION
26   SERVICES;
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 1   U.S. IMMIGRATION AND CUSTOMS
     ENFORCEMENT;
 2
     TONY H. PHAM, under the title of Senior
 3   Official Performing the Duties of the Director of
     U.S. Immigration and Customs Enforcement;
 4   U.S. CUSTOMS AND BORDER PROTECTION;
 5   MARK A. MORGAN, under the title of Senior
     Official Performing the Duties of the
 6   Commissioner of U.S. Customs and Border
     Protection;
 7   U.S. DEPARTMENT OF JUSTICE;
     WILLIAM P. BARR, under the title of U.S.
 8
     Attorney General;
 9   EXECUTIVE OFFICE FOR IMMIGRATION
     REVIEW; and
10   JAMES MCHENRY, under the title of Director
     of the Executive Office for Immigration Review,
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                   Defendants.
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              DECLARATION OF MICHELLE N. MENDEZ - CASE NO. 3:20-cv-07721
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 1          I, Michelle N. Mendez, declare under penalty of perjury as prescribed in 28 U.S.C. § 1746:

 2          1.      The facts contained in this declaration are known personally to me and, if called as

 3   a witness, I could and would testify competently thereto under oath. I submit this sworn declara-

 4   tion in support of Plaintiffs’ Motion for a Temporary Restraining Order, Preliminary Injunction,

 5   and Stay.

 6          2.      I am the Director of the Defending Vulnerable Populations Program at the Catholic

 7   Legal Immigration Network, Inc. (“CLINIC” or the “Organization”), whose main office is located

 8   in Silver Spring, Maryland. I have worked at CLINIC since January 2015.
 9          3.      CLINIC is a 501(c)(3) non-profit organization, with a national office in Silver
10   Spring, Maryland, an office in Oakland, California, and attorneys and other staff who work re-
11   motely across the United States. Three attorneys with CLINIC’s Training and Legal Support
12   (“TLS”) team work from the Oakland, California office, providing technical assistance to
13   CLINIC’s entire network of immigration legal services providers and other nonprofit agency staff
14   throughout the United States, conducting web-based trainings on a variety of immigration matters,
15   and issuing written resources for practitioners on immigration matters.
16          4.      CLINIC is the nation’s largest network of nonprofit legal immigration services pro-
17   grams. CLINIC’s mission is to provide immigration legal services to low income and vulnerable
18   populations through our network. This mission is part of CLINIC’s broader purpose of embracing

19   the Gospel value of welcoming the stranger, and promoting the dignity and protecting the rights

20   of immigrants. CLINIC believes the United States has a moral imperative to accept asylum seekers

21   as well as obligations under domestic and international law. Asylum seekers come to the United

22   States fleeing persecution and many arrive with nothing more than the clothes on their back. Con-

23   sequently, due to the severity of past harm suffered, many asylum seekers endure ongoing trauma-

24   related mental health issues and those asylum seekers who lack adequate support and mental health

25   treatment may self-medicate through substance abuse and become involved in the criminal justice

26   system. However, this Rule places them further away from the support and treatment they need

27   and instead places them on a path to asylum denial and deportation to the country they fled.

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 1          5.      The CLINIC network includes almost 400 affiliated immigration programs, which

 2   operate in 48 states and the District of Columbia. The network includes faith-based institutions,

 3   farmworker programs, domestic violence shelters, ethnic community-focused organizations, li-

 4   braries and other entities that serve immigrants. In total, CLINIC’s network employs more than

 5   2,300 attorneys, accredited representatives, and paralegals who, in turn, serve hundreds of thou-

 6   sands of low-income immigrants each year. Many CLINIC affiliates are on the “List of Pro Bono

 7   Service Providers” that the Executive Office for Immigration Review (“EOIR”) provides to asy-

 8   lum seekers. For example, Catholic Charities of the East Bay in Oakland, California, is on the
 9   EOIR list and is a CLINIC affiliate. Providing free and low-cost legal services to asylum seekers
10   is a critical part of the mission of CLINIC and our affiliates.
11          6.      In addition to employing attorneys, members of CLINIC’s network, referred to as
12   “affiliates,” employ United States Department of Justice (“DOJ”) “accredited representatives.”
13   Accredited representatives are non-attorney staff or volunteers who are approved by the DOJ to
14   represent noncitizens before the Department of Homeland Security (“DHS”), and, in some in-
15   stances, in removal proceedings before the immigration court and the Board of Immigration Ap-
16   peals (“BIA”). An accredited representative must work for a non-profit religious, charitable, social
17   service, or similar organization that provides low- or no-cost immigration legal services.
18          7.      CLINIC provides critical training and mentorship to the attorneys and DOJ-accred-

19   ited representatives who work at our affiliates. CLINIC’s trainings encompass topics such as

20   courtroom skills, updates to asylum law, and changes to removal proceedings. Additionally,

21   CLINIC staff write in-depth practice advisories to assist affiliates and other immigration practi-

22   tioners to stay abreast of rapidly changing rules.

23          8.      In addition to providing direct legal services, CLINIC provides technical support

24   to our affiliates through the “Ask-the-Experts” portal on our website. Attorneys and accredited

25   representatives at affiliate organizations submit inquiries regarding individual immigration matters

26   that are particularly complex, and CLINIC staff provide expert consultations. If a submitted ques-

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 1   tion is broadly applicable, CLINIC’s staff may spend weeks developing trainings or written re-

 2   sources designed to answer it.

 3          9.      CLINIC’s affiliates provide pro bono or low-cost immigration-related services us-

 4   ing materials, training, education, best practices, and sometimes, funding provided by CLINIC. A

 5   significant percentage of CLINIC affiliates provide legal services related to asylum claims, and

 6   CLINIC’s affiliate network assists with thousands of asylum applications per year, including

 7   providing direct legal representation.

 8          10.     CLINIC is aware that gaining asylum in the United States is highly dependent on
 9   access to competent counsel. CLINIC’s Defending Vulnerable Populations Program’s staff lev-
10   erages the organization’s substantial asylum expertise to provide support to CLINIC’s affiliates on
11   asylum matters, including through trial skills trainings on representing asylum seekers in immi-
12   gration court, practice advisories, and technical assistance. The Defending Vulnerable Populations
13   Program also works to increase the number of fully accredited representatives and attorneys who
14   are qualified to represent immigrants in immigration court proceedings through specialized curric-
15   ula and training programs on immigration court trial skills. The curriculum includes training based
16   on complicated asylum scenarios, such as how to handle an asylum case file involving a Latino
17   youth with false gang allegations.
18          11.     The Defending Vulnerable Populations Program has created several in-depth writ-

19   ten resources on asylum over the past two years. These include practice advisories such as: Prac-

20   tice Advisory: LGBTI DACA Recipients and Options for Relief under Asylum Law (June 25,

21   2020); Practice Advisory: Overcoming the Asylum One-Year Filing Deadline for DACA Recip-

22   ients (June 25, 2020); Practice Pointer: Matter of L-E-A- (April 20, 2020); A Guide to Assisting

23   Asylum-Seekers with In Absentia Removal Orders (July 10, 2019); Practice Advisory: Asylum

24   Seekers Stranded in Mexico Because of the Trump Administration’s Restrictive Policies: Firm

25   Resettlement Considerations (April 24, 2019). CLINIC’s Defending Vulnerable Populations Pro-

26   gram has also conducted webinars on, among other topics: changes to particular social group case

27   law; writing asylum declarations; and motions to reopen based on changed country conditions.

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 1          12.     In addition to the support provided to organizational affiliates, CLINIC’s Defend-

 2   ing Vulnerable Populations Program provides guidance and orientation to families separated pur-

 3   suant to the Trump administration’s “Zero Tolerance Policy” who are pursuing asylum in the

 4   United States; mentorship to the formerly separated families’ legal counsel; representation on the

 5   initial I-765 employment authorization applications; and asylum application assistance for those

 6   formerly separated families who lack legal counsel.

 7          13.     CLINIC’s Defending Vulnerable Populations Program also has a Remote Motion

 8   to Reopen Project, which has provided representation to formerly separated families, families re-
 9   leased from family detention, asylum seekers, and other vulnerable people around the country, in
10   filing motions to reopen before the immigration courts and the Board of Immigration Appeals
11   since 2016. Through this project, CLINIC partners with pro bono attorneys to provide high quality
12   representation on motions to reopen, and once the case is successfully reopened, CLINIC places
13   the case with competent local counsel, providing further mentorship assistance as needed.
14          14.     CLINIC’s Defending Vulnerable Populations Program provides pro bono legal
15   counsel to asylum seekers appealing to the BIA and the U.S. courts of appeals through our BIA
16   Pro Bono Project, and, to a lesser extent, direct representation for asylum seekers in immigration
17   court on a pro bono basis. If CLINIC is unable to assign pro bono matters, such as asylum appli-
18   cations, to a member of its network of affiliates, CLINIC staff—working individually or as part of

19   a larger team—will often undertake the direct representation themselves.

20          15.     The Rule challenged in the Complaint, Procedures for Asylum and Bars to Asylum

21   Eligibility, 85 Fed. Reg. 67202 (October 21, 2020) (“Rule”), would irreparably harm CLINIC in

22   multiple ways unless it is enjoined, including by frustrating CLINIC’s mission to serve and support

23   as many immigrants—and affiliate organizations providing immigration services—as possible.

24          16.     As the hub of the largest network of immigration legal service providers in the

25   United States, CLINIC is tasked with analyzing every significant change to immigration law and

26   policy and creating digestible information to hundreds of organizations and thousands of practi-

27   tioners nationwide. The Rule will require this analysis and creation of training materials, but at a

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 1   much larger scale because asylum-related services (including the filing of affirmative asylum ap-

 2   plications) account for a large percentage of the services provided by CLINIC and our affiliates,

 3   approximately 45 percent of which provide asylum representation. CLINIC will also need to de-

 4   vote significant time and resources to informing the communities it serves, participating in further

 5   advocacy, and updating our resources.

 6          17.     As a result of the Rule, CLINIC will need to divert significant resources, prior even

 7   to the Rule’s effective date, as many asylum seekers may rush to file before the new requirements

 8   take effect. CLINIC has already diverted our employees’ time and efforts in advocating against
 9   this Rule, including submitting a comment during the notice and comment period, commenting on
10   multiple subsequent proposed Rules that would affect asylum seekers, and analyzing the substan-
11   tial overlap and consequences between this then-proposed Rule and the other proposed rules. Ad-
12   ditionally, CLINIC will continue to devote significant time and resources to informing the com-
13   munities it serves, participating in further advocacy, and updating relevant resources.
14          18.     The Rule will have an immediate and tangible impact on the day-to-day work of
15   CLINIC affiliates. Each practitioner will immediately need to know how to assist clients under
16   the new Rule and CLINIC’s job will be to provide this information. All 2,000-plus affiliate legal
17   staff and their volunteers will need to be trained on the Rule’s impact on asylum-seeking clients
18   and prospective clients. CLINIC has already allocated considerable staff time to reviewing the

19   proposed Rule and anticipates incurring significant additional expenses if this Rule goes into ef-

20   fect, as the organization will have to develop new training and legal support resources for, and

21   respond to, technical support inquiries from our affiliate network.

22          19.     CLINIC’s affiliates depend on CLINIC to provide real-time and up-to-date guid-

23   ance on immigration law and policy, a service which has become both increasingly critical and

24   increasingly difficult in light of the volume and scope of changes to the asylum process—and the

25   resulting interplay between these regulatory changes—that have occurred even just over the last

26   four years. CLINIC delivers this guidance via emails, webinars, and our website.

27          20.     In response to the large number of questions relating to the intersection of criminal

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 1   law and immigration law that CLINIC has already received via our network of affiliates, CLINIC

 2   hired a consulting attorney specializing in this area of law to respond to such inquiries. Because

 3   this consulting attorney charges CLINIC an hourly rate, CLINIC expects this Rule to necessarily

 4   have a negative impact on our budget, as CLINIC expects to receive a marked increase in the

 5   number of queries regarding the implications of this Rule for the consulting attorney to analyze.

 6   Furthermore, the complex and nuanced factors contemplated by this new Rule will require CLINIC

 7   to devote significant additional resources and staffing to develop and provide timely training on

 8   how to evaluate immigrants’ eligibility for asylum, including the impact of any prior convictions,
 9   and, in some instances, criminal allegations without convictions.
10          21.     In the past year alone, CLINIC has had to publish numerous substantive trainings

11   and practice alerts in response to changes to the asylum framework, including a fact sheet for

12   practitioners navigating immigration court proceedings for unaccompanied child clients pursuing

13   initial asylum jurisdiction with USCIS; an in-depth analysis and year-to-year comparison of both

14   the annual Human Rights Report published by the U.S. Department of State and the USCIS Asy-

15   lum Office’s Credible Fear Lesson Plan, which is designed to train asylum officers and set forth

16   standards to be followed when conducting credible fear interviews; summary analysis on the “Se-

17   curity Bars and Processing” proposed rule that aims to bar entry of asylum applicants who have

18   tested positive for COVID-19, come from a country where COVID-19 is prevalent, and/or ex-

19   hibit COVID-19 symptoms; answers to FAQs regarding multiple changes to the employment au-

20   thorization rules for asylum seekers; practical guidance regarding representation of asylum seekers

21   with family-based claims; and a practice manual containing an overview of applicable laws, regu-

22   lations, and guidance concerning the I-730 petition process for asylees and refugees to petition for

23   family members, as well as practical information on how to navigate the application process from

24   completing the form I-730, to compiling evidence, to troubleshooting with government agencies.

25   In addition, CLINIC filed numerous comments on proposed rules impacting the asylum process,

26   as well as filing several amicus briefs in matters concerning asylum.

27          22.     As a result of the new Rule, in addition to providing the above-mentioned practical

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 1   alerts and updates, CLINIC will likely have to re-work our core existing trainings and materials to

 2   account for the proposed changes. For example, CLINIC would have to re-work its asylum e-

 3   learning course, the criminal consequences on immigration status webinars and webinar series, our

 4   legal practitioner toolkit and removal defense toolkit, and the “Representing Clients in Immigra-

 5   tion Court” publication issued by the American Immigration Lawyers Association. Additionally,

 6   CLINIC will have to rewrite portions of existing written materials, which will need to be reviewed

 7   for potential changes in light of the new Rule, and it is likely that some will need to be fully

 8   rewritten. CLINIC will also need to write an in-depth article on the final Rule.
 9          23.     In general, the Rule will result in a significant expenditure of staff resources to
10   respond to the various changes to the asylum eligibility guidelines. This diversion of resources
11   will take staff away from other CLINIC initiatives. CLINIC has already had to divert resources to
12   respond to numerous changes to immigration regulations including changes to public charge de-
13   terminations, fee waivers and increases, responding to Requests for Evidence in cases pending
14   before USCIS, and additional near-constant changes to long-established immigration practice.
15   These changes are detrimental to immigrant clients and have resulted in CLINIC having to signif-
16   icantly increase the staffing levels in our Defending Vulnerable Populations Programs. CLINIC
17   anticipates that the need to continue increasing staffing and diverting existing resources will only
18   intensify due to the Rule, although the organization’s actual ability to hire such staff may not be

19   commensurate with demand. Much of the work that CLINIC will have to initiate in response to

20   the changes will be brand new work. But for the need to respond to the changes in the Rule,

21   CLINIC staff would otherwise be devoting time to helping affiliates tackle difficult legal problems

22   under existing law, or training and teaching on other important issues including removal defense,

23   asylum, naturalization, adjustment of status, Special Immigrant Juvenile Status, Violence Against

24   Women Act (“VAWA”) self-petitions, T and U visas, Temporary Protected Status, Deferred Ac-

25   tion for Childhood Arrivals (“DACA”), and Liberian Refugee Immigration Fairness (“LRIF”).

26          24.     As discussed above, CLINIC expects that the Rule will increase the number of que-

27   ries submitted through its ask-the-expert website portal concerning the intersection of criminal and

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 1   immigration law. Indeed, while recent regulatory changes have made it more difficult to assess

 2   asylum eligibility, this new Rule imposes substantial—and previously untested—challenges for

 3   any immigration law practitioner, including CLINIC and our affiliates. The new Rule will require

 4   immigration practitioners to engage in a more complicated analysis of whether an asylum seeker

 5   is barred from asylum eligibility, based on analyzing both state and federal criminal law, pushing

 6   immigration practitioners even further outside of their areas of expertise.

 7          25.      Moreover, the Rule would significantly increase the amount of time and resources

 8   each asylum seeker’s case requires, including time spent on briefing eligibility issues; time and
 9   resources spent on obtaining any records of arrests and/or convictions; and resources spent on
10   finding and preparing witnesses and experts. The Rule will also impact the length of the adjudi-
11   cation process itself. Indeed, as a result of recent decisions, even if the parties stipulate to a par-
12   ticular issue before the immigration judge, the asylum seeker will still have to present evidence
13   and arguments to prove that element of asylum in order to prevent reversal by the BIA in the event
14   of an appeal.
15          26.      The current clients of CLINIC, our affiliates and our pro bono partners include
16   many individuals seeking asylum as a family unit. Often, CLINIC and our affiliates are able to
17   present a single case on behalf of such families, because the children’s claims are treated as deriv-
18   ative of their parents’ claims. However, if parents were rendered ineligible for asylum under the

19   new Rule, their children would no longer have a derivative claim and each child would have to

20   independently prove eligibility for asylum. The Rule will likely lead to some parents winning

21   withholding of removal, but not asylum. With no ability to seek derivative benefits under with-

22   holding, children who do not have independent persecution-based claims would be ordered re-

23   moved, forcing parents to choose between being returned to countries where they will be perse-

24   cuted or being permanently separated from their children. CLINIC would have to explain these

25   more complicated procedural postures, as well as the ethical concerns they raise, to affiliates who

26   may have to either accept fewer cases as each family’s case involves more preparation time, or

27   figure out how to stretch their already-limited resources to handle such cases for current clients

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 1           27.     In summary, at a minimum, the new Rule will require CLINIC to do the following:

 2   analyze the Rule for consequences to our affiliates and their client base; write a legal analysis of

 3   the Rule for practitioners; write an update about the Rule for our mass communications; create a

 4   webinar on the changes; update website content where asylum application language exists; update

 5   any relevant toolkits and/or other documents; field affiliate inquiries to our portals; provide pro-

 6   gram management consultations to affiliates struggling to serve low-income immigrants due to

 7   policy changes resulting in a lower number of people served and declining revenue, if not also

 8   staff reductions; and provide technical support to affiliates needing to fundraise more through grant
 9   applications due to declining numbers of open cases.
10           28.     The Rule could also jeopardize CLINIC’s funding and budget. CLINIC receives
11   funding from a variety of sources, including funding in exchange for services such as trainings,
12   written resources, and technical assistance. This Rule will force CLINIC to spend more time than
13   previously planned for on asylum services. If CLINIC has to spend more time on asylum services,
14   our funding will not extend as far, thus forcing CLINIC to seek new funding to cover this gap.
15   However, seeking such new funding takes time and bona fide attempts to find new funding are
16   often futile.
17           29.     Similarly, loss of, or even reduced, funding may cause CLINIC affiliates to reduce
18   the number of full-time staff positions available. Loss of staff time or positions altogether, in turn,

19   will create a longer wait for one-on-one appointments and mean that those affiliates will be able

20   to serve fewer clients. That reduced output will, in turn, give funders less cause to use their money

21   to support CLINIC affiliates as funders seek to maximize the outcomes of their donations.

22           30.     The changes to the Rule will undermine CLINIC’s and our affiliates’ ability to ful-

23   fill one of their central functions of providing asylum-related assistance, thereby dramatically dis-

24   rupting CLINIC’s broader mission of providing immigration legal services to low-income and

25   vulnerable populations. As described above, if the Rule is permitted to take effect, CLINIC and

26   our affiliates will be required to divert significant resources to address the Rule. This diversion of

27   existing resources, combined with a concomitant loss in funding, will further exacerbate the harm

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 1   to CLINIC caused by the Rule.

 2          31.     The relief requested in the Plaintiffs’ Complaint would properly address the injuries

 3   to CLINIC described above, and in the public comment CLINIC submitted in opposition to the

 4   Rule. If Plaintiffs prevail in this action, CLINIC would be able to devote our staff time and re-

 5   sources to more clients than it would be able to if the Rule were permitted to take effect.

 6          32.     CLINIC is unaware of any way it can recover the increased costs that the Rule will

 7   impose on CLINIC as an organization, and would suffer immediate and irreparable injury under

 8   the Rule if the rule were permitted to take effect.
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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3

 4          Dated: November 2, 2020

 5          Baltimore, Maryland

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 7                                                              ___________________
 8                                                              Michelle N. Mendez

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